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           EXHIBIT E
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                                                                                                     USOO856.6327B2


(12) United States Patent                                                         (10) Patent No.:                    US 8,566,327 B2
       Carrico et al.                                                             (45) Date of Patent:                           Oct. 22, 2013

(54) MATCHING PROCESS SYSTEMAND                                                 2005, 0021750 A1        1/2005 Abrams ........................ 709,225
        METHOD                                                                  2006/0059147 A1*        3, 2006 Weiss et al. .                      TO7/6
                                                                                2006/0085419 A1*        4, 2006 Rosen .........                     707/9
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                      Kenneth B. Hoskins, Plano, TX (US);                       2007/OO73687 A1         3, 2007 Terrill et al. ...................... 707/6
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(73) Assignee: Match.com, L.L.C., Dallas, TX (US)                               2009/0106040 A1* 4/2009 Jones ................................ 705/1
(*) Notice:           Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                                    OTHER PUBLICATIONS
                      U.S.C. 154(b) by 685 days.                               PCT Notification of Transmittal of the International Search Report
                                                                               and the Written Opinion of the International Searching Authority, or
(21) Appl. No.: 12/339,301                                                     the Declaration with attached PCT International Search Report and
(22) Filed:            Dec. 19, 2008                                           Written Opinion of the International Searching Authority in Interna
                      (Under 7 CFR 1.47)                                       tional Application No. PCT/US 08/87706, dated Feb. 10, 2009, 8
                                                                               pageS.
(65)                      Prior Publication Data
        US 2009/0164464 A1              Jun. 25, 2009
                                                                               * cited by examiner

            Related U.S. Application Data                                      Primary Examiner — Yuk Ting Choi
(60) Provisional application No. 61/015,099, filed on Dec.                     (74) Attorney, Agent, or Firm — Baker Botts L.L.P.
        19, 2007.
(51) Int. Cl.                                                                  (57)                        ABSTRACT
        G06F 7/30                   (2006.01)
(52) U.S. Cl.                                                                  A method for pprofile matching2 includes receivinggap
                                                                                                                                  a plurality
        USPC ........................................... 707/748; 705/319      of user profiles, each user profile comprising traits of a
(58) Field of Classification Search                                            respective user. The method includes receiving a preference
        USPC .................... 707/999.005, 736, 748; 705/319               indication for a first user profile of the plurality of user pro
        See application file for complete search history.                      files. The method also includes determining a potential match
                                                                               user profile of the plurality of user profiles based on the
(56)                      References Cited                                     preference indication for the first user profile. The method
                  U.S. PATENT DOCUMENTS
                                                                               also includes presenting the potential match user profile to a
                                                                               second user.
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                                                                         SEARCHRESULTS

                                                              Jane Doe
                                     12a
                                                              Jane BOe

                                                              Jane Loe | Sally recommended her        39


                                                                 HARRY'S SEARCHRESULTS

                                                              Jane Doe      Recommend      37

                                     12b                31    Jane Boe      ReCommend

                                                              Jane LOe      ReCommend
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          14                  TERMINAL
                                 10
               5-        SS                             100
      S
                                .                       f       MATCHING
                                                                 SERVER




                    10

           12


           16

                    FIG. IB

                                                   FIG. I. C.
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                                                                     26a

              Jane Boe-300
              Jane LOe N3Od
              Jane Snoe-N-30
                 O




                                                    33    = 7-34


            31 2. Jane Roe-31bview 33 Q-34
               3. Jane Boe-N-3 view 33 S2-3
                          O



                                                  see More
                                  FIG. IE


                                                  Jane DOe
                                                   Contact
                                                     X-36
                     Born: 1 O/O 1/75
                     Hometown: Dallas, TX
                     LikeS: Chocolate, rollerblading
                     Dislikes: Body odor, arrogance, football

                                  FIG. I.F
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                                SEARCHRESULTS

                        Jane DOe
  12a
                   31 - Jane Boe

                        Jane LOe     Sally recommended her         39

                                                                               FIG. 2
                           HARRY'S SEARCHRESULTS


                        Jane Doe Recommend
  12b              31

                        Jane LOe     ReCOmmend




        <handled
                               <handled is             %:Send her an email
                             Waiting for yOU to
                            reply to her e-mail.             Not interested

          t               DoPhysical
                               you match?:
                                     Compatibility: High
         ()               Intellectual Compatibility: High                       FIG. 3
          Age             Values Compatibility: Moderately High
        LOCation
   Gender/Age Seeking
                   32     You and <handled both like music, Speak German,
                          and mentioned "Play-doh" in your profiles.
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                20                                            50
                                                                       14
                30                                            52




                                          24
                       22                                22




                                      FIG. 4



                                                         62
                                 GENERATE POOL

                                                         64
                                     APPLY FILTER

                                 APPLY SCORING
                                                         66
                                  ALGORITHMS

                                                         68
                                 ABULATE SCORES

                                 APPLY ORDERING
                                   ALGORTHM
                                                         70
                                     PRESENT LIST
                                      OF RESULTS
                                                         72
                                       WAIT FOR
                                     USERACTIVITY        74

                                      FIG. 5
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                                                       US 8,566,327 B2
                               1.                                                                    2
         MATCHING PROCESS SYSTEMAND                                     Receiving a preference indication for a first user profile
                  METHOD                                             may include receiving from a third user a recommendation of
                                                                     the first user profile for the second user. It may also include
                  RELATED APPLICATION                                receiving from the second user a preference indication for the
                                                                     first user profile. The method may further include determin
   This application claims benefit under 35 U.S.C. S 119(e) to ing a score of a third user profile of the plurality of user
U.S. Provisional Application Ser. No. 61/015,099, entitled profiles as a potential match for the second user. It may also
“MATCHING PROCESS SYSTEMAND METHOD, filed                            include altering the score of the third user profile based on the
Dec. 19, 2007.                                                    10
                                                                     preference indication for the first user profile.
                                                                        In another embodiment, a method for profile matching
                     TECHNICAL FIELD                                 comprises receiving a plurality of user profiles, each user
                                                                     profile comprising traits of a respective user. The method
   This invention relates generally to computer matching sys further comprises receiving a request for matches from a first
tems and more particularly to a matching process system and 15 user, the first user associated with a first user profile. The
method.                                                              method also comprises scoring the plurality of user profiles
                                                                     for potential matching with the first user based on compari
                       BACKGROUND                                    sons of the plurality of user profiles with the first user profile.
                                                                     It also comprises identifying a second user profile of the
   Networking architectures have grown increasingly com- 2O plurality of user profiles as a potential match for the first user
plex in communications environments. In recent years, a based on the scoring. The method further comprises identi
series of protocols and configurations have been developed in fying commonality between a third user profile of the plural
order to accommodate a diverse group of end users having ity of user profiles and the second user profile. In addition, the
various networking needs. Many of these architectures have method comprises presenting to the first user the third user
gained significant notoriety because they can offer the ben- 25 profile as a potential match for the first user.
efits of automation, convenience, management, and enhanced              Depending on the specific features implemented, particu
consumer selections.                                                 lar embodiments may exhibit some, none, or all of the fol
   Certain network protocols may be used in order to allow an lowing technical advantages. Various embodiments may be
end user to conduct an on-line search of candidates to fill a        capable of dynamically updating match search results based
given vacancy. These protocols may relate to job searches, 30 on user activity. Some embodiments may be capable of
person finding services, real estate searches, or on-line dating. enhancing match search results by reducing the impact of
While some believe that on-line dating is simply a matter of restrictive user preferences. In addition, some embodiments
matching Supply and demand, there is statistical and empiri may provide the ability to evaluate the attractiveness of poten
cal evidence to Suggest that Successful on-line dating entails tial matches. Other technical advantages will be readily
far more.                                                         35
   For example, people having similar and/or compatible apparent to one skilled in the art from the following figures,
character traits and values should be matched together. How description and claims.
ever, effectively linking two participants together can prove to             BRIEF DESCRIPTION OF THE DRAWINGS
be a challenging endeavor. Coordinating a relationship
between two like-minded individuals can be a significant 40 Reference is now made to the following description taken
chore, as there are a number of obstacles and barriers that
must be overcome.                                                    in conjunction with the accompanying drawings, wherein like
   One problem that has arisen is that matching services are reference numbers represent like parts, and which:
limited to searching for matches only within their own plat             FIG. 1A is an overview of one embodiment of the matching
form. Thus, only people who have gone through the process 45 system;
of signing up for the service are searched for a match. One             FIG. 1B shows the contents of the terminal from FIG. 1A:
Solution to this problem is to have users register in multiple          FIG. 1C shows the contents of the matching server from
services. This is problematic because it can be expensive and FIG. 1A:
time consuming for users. Further, the user must then visit all         FIG. 1D is a diagram of a database from FIG. 1C showing
of the services to monitor the search progress: this ineffi- 50 one embodiment of how a matching server stores a pool;
ciency may cause users to give up on the search process.                FIG. 1E is a diagram of the display from FIG. 1B showing
   Another problem is that the search results of these services one embodiment of the presentation of search results to a
contain many irrelevant entities to the searcher. This costs the user,
user of the service time and may deter them from continuing             FIG.1F is a diagram of the display from FIG. 1B showing
through all of the search results.                                55 one embodiment of the presentation of details of a match
                          SUMMARY                                    result entity to a user;
                                                                        FIG. 2 is a diagram depicting how a user may recommend
   In one embodiment, a method for profile matching com an entity to another user, in accordance with a particular
prises receiving a plurality of user profiles, each user profile 60 embodiment;
comprising traits of a respective user. It also comprises               FIG. 3 is a diagram of the display from FIG. 1B depicting
receiving a preference indication for a first user profile of the    how   the user may be made aware of fate characteristics the
plurality of user profiles. It further comprises determining a user shares with a match result entity, in accordance with a
potential match user profile of the plurality of user profiles particular embodiment;
based on the preference indication for the first user profile. 65 FIG. 4 is a diagram depicting how two platforms may be
The method also comprises presenting the potential match searched for a match, in accordance with a particular embodi
user profile to a second user.                                       ment; and
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                              3                                                                  4
   FIG. 5 is a flow chart indicating how a result list may be      tem that facilitates communications in a network or tele
generated, in accordance with a particular embodiment.             phonic environment, including a combination of any net
                                                                   works or systems described above. In various embodiments,
                DETAILED DESCRIPTION                               network connections 22 may include, but are not limited to,
                                                                   wired and/or wireless mediums which may be provisioned
   Referring to FIG. 1A, one embodiment of a matching sys with routers and firewalls.
tem is shown. FIG. 1A is a simplified block diagram of a               Matching server 20 is operable to receive and to commu
system 100 for facilitating an on-line dating scenario in a nicate information to terminal 10. In some embodiments,
network environment. In other embodiments, system 100 can matching server 20 may comprise a plurality of servers or
be leveraged to identify and to evaluate suitable candidates in 10 other equipment, each performing different or the same func
other areas (e.g. hiring/employment, recruiting, real estate, tions in order to receive and communicate information to
general person searches, etc.). Users 14 interact with a match terminal 10. Matching server 20 may include software and/or
ing server 20 through terminals 10. FIG. 1B is a diagram algorithms to achieve the operations for processing, commu
showing, in one embodiment, the contents of terminal 10. nicating, delivering, gathering, uploading, maintaining, and/
Terminal 10 comprises interface 16 (so that user 14 may be 15 or generally managing data, as described herein. Alterna
able to interact with terminal 10) and display 12. FIG. 1C is a tively, such operations and techniques may be achieved by
diagram showing, in one embodiment, the contents of match any suitable hardware, component, device, application spe
ing server 20. Matching server 20 comprises memory 26 and cific integrated circuit (ASIC), additional software, field pro
at least one CPU 28. Memory 26 may store multiple data grammable gate array (FPGA), server, processor, algorithm,
bases, such as databases 26a and 26b. Terminal 10 and match         erasable programmable ROM (EPROM), electrically eras
ing server 20 are communicatively coupled via network con able programmable ROM (EEPROM), or any other suitable
nections 22 and network 24.                                         object that is operable to facilitate such operations.
   Users 14 are clients, customers, prospective customers, or          In some embodiments, user 14, using terminal 10, registers
entities wishing to participate in an on-line dating scenario with matching server 20. Registration may include user 14
and/or to view information associated with other participants 25 Submitting information to matching server 20 about user 14 as
in the system. Users 14 may also seek to access or to initiate well as characteristics user 14 is seeking to be matched with.
a communication with other users that may be delivered via Such information may include a user handle, which may be a
network 24. Users 14 may review data (such as profiles, for combination of characters that uniquely identifies user 14 to
example) associated with other users in order to make match matching server 20. In various embodiments, matching server
ing decisions or elections. Data, as used herein, refers to any 30 20 may be configured to collect this information; for example,
type of numeric, Voice, video, text, or script data, or any other matching server 20 may be configured to ask user 14 to
suitable information in any appropriate format that may be respond to a series of questions. Matching server 20 may be
communicated from one point to another.                             configured to receive the information submitted by user 14
   In one embodiment, terminal 10 represents (and is inclu and create a profile for user 14 based on that information,
sive of) a personal computer that may be used to access 35 storing the profile in memory 26.
network 24. Alternatively, terminal 10 may be representative           As an example only, consider a case where user 14 is
of a cellular telephone, an electronic notebook, a laptop, a interested in participating in an on-line dating scenario. User
personal digital assistant (PDA), or any other suitable device 14 can access the Internet via terminal 10, travel to a web site
(wireless or otherwise: some of which can perform web managed by matching server 20, and begin the registration
browsing), component, or element capable of accessing one 40 process. As part of the registration process, matching server
or more elements within system 100. Interface 16, which may 20 may ask user 14 a series of questions which identifies
be provided in conjunction with the items listed above, may characteristics about user 14. Thus, matching server 20 may
further comprise any Suitable interface for a human user Such ask about the height, weight, age, location, and ethnicity of
as a video camera, a microphone, a keyboard, amouse, or any user 14. It may also ask about the birthplace, parents, eating
other appropriate equipment according to particular configu 45 habits, activities, and goals of user 14. Matching server 20
rations and arrangements. In addition, interface 16 may be a may further use the registration process to discover what user
unique element designed specifically for communications 14 may be looking for in a match, Such as age, weight, height,
involving system 100. Such an element may be fabricated or location, ethnicity, diet, education, etc. Further, matching
produced specifically for matching applications involving a server 20 may ask user 14 to indicate how important certain
USC.                                                             50 factors are when looking for a match. For example, matching
   Display 12, in one embodiment, is a computer monitor.            server 20 may allow the user to indicate which characteristics
Alternatively, display 12 may be a projector, speaker, or other in a potential match are a necessity. In another example,
device that allows user 14 to appreciate information that matching server 20 may ask, “How important is it that your
system 100 transmits.                                               match does not smoke?' Matching server 20 may also allow
   Network 24 is a communicative platform operable to 55 the user to indicate that certain characteristics are not impor
exchange data or information emanating from user 14. Net tant search criteria. For example, when asking user 14 about
work 24 could be a plain old telephone system (POTS). Trans what height or weight user 14 is seeking in a match, matching
mission of information emanating from the user may be server 20 may be configured to receive “not important” as a
assisted by management associated with matching server 20 response. In yet another example, matching server 20 may
or manually keyed into a telephone or other suitable elec 60 allow user 14 to rate which factors are important on a numeri
tronic equipment. In other embodiments, network 24 could be cal scale. For example, matching server 20 may ask user 14
any packet data network offering a communications interface the following: “On a scale of 1-10, how important is it that
or exchange between any two nodes in system 100. Network your match has the same education level as you?” In some
24 may alternatively be any local area network (LAN), met embodiments, matching server 20 may specify that any num
ropolitan area network (MAN), wide area network (WAN). 65 ber of questions or requested descriptions are necessary
wireless local area network (WLAN), virtual private network before registration may be concluded. As an example only,
(VPN), intranet, or any other appropriate architecture or sys matching server 20 may require that user 14 communicate the
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sex ofuser 14 and the sex user 14 prefers to be matched with. into another list. In another embodiment, utilizing favorite
After concluding the registration process, matching server 20 button 34 will remove the associated match result entity from
may store the responses of user 14 as a profile. This same result list 31.
process may be repeated by several different users 14, causing       As an example only, user 14 may decide that he would like
matching server 20 to contain a plurality of profiles.            to save Jane Doe's profile so that he can review it later. User
   FIG. 1D depicts an embodiment in which matching server 14 may click favorite button 34, and matching server 20 may
20 has a database 26a which contains a pool 30. Each entry in respond by placing Jane Doe's profile into a separate list.
database 26a has a pool entity 30a along with information Further, matching server 20 may also remove Jane Doe from
concerning that entity. In one embodiment, each pool entity user's 14 result list 31. As a result, user 14 may see another
30a-e represents a user and their profile. In some embodi 10 match result entity populate result list 31. This is beneficial
ments, not all registered users are in pool 30. As discussed because it may focus user 14 on evaluating new entities rather
further below, matching server 20 may use a selection process than reevaluating previously-known entities because the enti
for including stored profiles in pool 30. As depicted in FIG. ties still appear in result list 31.
1D, in this embodiment, the collection of users and profiles         In some embodiments, matching server 20 may be config
forms pool 30 through which matching server 20 may per 15 ured to generate pool 30 by default according to various
form various functions such as searches for matches.              characteristics and preferences of user 14 and other users of
   Matching server 20 may be configured to search through the system. Matching server 20 may also restrict entities from
pool 30 and present matches to user 14. In FIG. 1E, one being included in pool 30 based on the status of the profile, or
embodiment of this presentation is depicted as occurring if user 14 has rejected or blocked an entity. Matching server
through display 12. In various embodiments, matches may be 20 may also restrict entities from the pool that have blocked or
presented to user 14 utilizing other communication schemes, rejected user 14. For example, matching server 20 may not
Such as electronic messages (i.e., e-mail) or text messages allow profiles that are not in good standing to be included in
(i.e., utilizing SMS). In the depicted embodiment, a result list pool 30. In other embodiments, matching server 20 may be
31 is presented to user 14. A match result entity 31a in a result configured to generate pool 30 by first choosing seeds. Seeds
list 31 may be associated with a view button33. Using inter 25 include, but are not limited to, profiles that user 14 has sent a
face 16, user 14 may request that matching server 20 provide message to or profiles that user 14 has expressed a preference
more information about an entity in result list 31 by pressing for. Each seed is then compared to other entities to determine
the associated view button 33. Matching server 20 may then which entities will be included in pool 30. Any suitable
communicate to user 14 more information about that entity by method can be used to determine which entities are included
retrieving the information from memory 26. In FIG. 1F, one 30 in pool 30. For example, any characteristics or algorithms
embodiment of information that matching server 20 provides described herein may form the basis of such a determination.
for user 14 is shown. Using display 12, user 14 views an entity As another example, a commonality score may be generated
from result list31. Matching server 20 may also provide user based on the comparison between each entity and the seed. In
14 with the ability to contact the entity through a contact Some embodiments, this commonality score can be a measure
button 35. In one embodiment, when contact button 35 is 35 of how physically similar the users are to each other. This
utilized by user 14, matching server 20 may provide user 14 score may be generated based on the number of users that
with contact information of the entity Such as a telephone have expressed a positive preference for both the seed and the
number or an e-mail address; in another embodiment, match         entity being compared. This score may also be generated
ing server 20 may provide user 14 with a way to directly based on whether the seed and entity have been viewed
contact the entity, Such as sending a message or providing 40 together in one session; further, the more times the seed and
Voice or video communication between user 14 and the entity. entity have been viewed together, the larger the commonality
Even further, matching server 20 may be configured to allow score. The law of large numbers may allow for a vast amount
user 14 to express a negative preference for the entity through of such commonalities to be established over a few days.
dislike button 36. In one embodiment, when, for example, Testing has revealed that using Such commonality scoring
dislike button 36 is utilized by user 14, matching server 20 45 methods has yielded at least one physical match for 80% of
may remove the entity from result list 31; in another embodi users whose profile has been viewed at least once, and
ment, the entity may be removed from pool 30 of users from between 6 and 1000 physical matches for 60% of users whose
which matches are identified.                                     profile has been viewed at least once. Matching server 20 may
   As an example only, consider that user 14 has submitted a be further configured to allow entities that have a common
search request to matching server 20. Matching server 20 may 50 ality score above a certain threshold to become a part of pool
search through pool 30, identify results, and communicate 30. Matching server 20 may further be configured to update
result list 31 to user 14 which would contain other users for     pool 30. In some embodiments, matching server 20 may do so
whom matching server 20 had created a profile and who were by creating new seed entities based on activity by user 14,
identified through a search and selection process. Next, user Such as indicating a preference for that entity. Further, match
14 may be interested in learning more about Jane Doe, entity 55 ing server 20 may then compare the chosen seed entity with
31a; thus, user 14 would click view button 33 associated with     other profiles stored in matching server 20 and determine
Jane Doe. Matching server 20 would receive this request and whether those profiles will be included in pool 30 using a
respond by displaying Jane Doe's profile (stored in memory threshold score as described above. At least one advantage
26), as depicted in FIG. 1F. Next, after reading the profile, realized by this embodiment is that user 14 is presented with
user 14 may be interested in contacting Jane Doe; hence, user 60 updated potential matches which increases the likelihood of
14 would click contact button 35. Matching server 20 would user 14 finding a Suitable match. Another advantage present
respond by allowing user 14 enter a message that matching in certain embodiments is that these updated potential
server 20 would then communicate to Jane Doe.                     matches have a greater likelihood of compatibility with user
   Matching server 20 may even further be configured to           14 since they are chosen based on their commonality with
allow user 14 to store a match result entity; in one embodi 65 entities user 14 has expressed a preference for.
ment, the system may be configured to allow user 14 to utilize       As an example only, consider the case in which user 14 has
favorite button 34 that will add the desired match result entity registered, requested a search, and received from matching
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server 20 results list31. Then, user 14 decides to contact Jane     with  a  metric    for  determining    approximate intelligence of
Doe and presses contact button35. Aside from providing user other users. The readability score may be used, for example,
14 with the ability to contact Jane Doe, matching server 20 in the matching process to identify potential matches.
will designate Jane Doe's profile as a seed. Matching server           As an example only, the Flesch Kincaid Reading Ease
20 will then compare Jane Doe's profile to other profiles 5 score may be generated by first computing the following
stored in memory 26 in order to identify other users who may intermediate score:
be similar to Jane Doe and thus be a good match for user 14.               206.835-(1.015*Average Words per Sentence)-
In this example, matching server 20 will generate a common                      (84.6*Average Syllables per Word)
ality score for each of these comparisons and compare these
scores to a preset threshold. If the commonality score is lower 10 Then, the Flesch Kincaid Reading Ease score is determined
than the threshold, that profile will not be added to pool 30. by using the following table:
However, if the commonality score is higher than the thresh
old, matching server 20 will add this profile to pool 30. As an
example, further assume that the seed, Jane Doe, is being                                                     Flesh Kincaid Reading Ease
compared to another entity, Susan Smith. Based on the fact 15             Intermediate Score Condition                   Score
that both Susan and Jane have three users (Tom, Dick, and
Harry) who have expressed a positive preference for their                             <100
                                                                                        <91
                                                                                                                            4
                                                                                                                            5
profiles, matching server 20 generates a commonality score                              <81                                 6
of 100 for the comparison. In contrast, matching server 20                              <71                                 7
generated a commonality score of 50 for the comparison                                  <66                                 8
between the seed (Jane Doe) and yet another entity, Lucy                                <61
                                                                                        <51
                                                                                                                            9
                                                                                                                           10
Goosey. This was because only one user (Bob) had indicated                              <31                                13
a positive preference toward both Lucy and Jane. Continuing                              <O                                14
the example, matching server 20 is using a commonality                                 Else                                15
threshold score of 70, which results in including Susan’s 25
profile (whose commonality score was greater than the The Flesch Kincaid Grade Level may be computed according
threshold score) in pool 30 and excluding Lucy's (whose to             the following:
commonality Score was less than the threshold score). Thus,
user 14 gets the benefit of having more entities identified that           (0.39*Average Words Per Sentence)+(11.8*Aver
may be good matches.                                             30             age Syllables Per Word))-15.59
   In some embodiments, matching server 20 may be config The Gunning Fox score may be computed according to the
ured to include behavioral scales. These may include multi following:
item Scales for materialism and gender-role traditionalism.
Such scales may provide the advantage of improved matching                 (Average Words Per Sentence+((Number Of Words
through deeper appreciation for the personality of entities in 35               With More Than 3 Syllables/Number of Words
the system.                                                                     In Entire Text)+100))*0.4
   In some embodiments, matching server 20 may be config As indicated, any suitable tests may be utilized in any Suitable
ured to analyze profile text for categories. It may search for a manner to determine a readability score.
number of text strings and then associate the profile with any         In some embodiments, matching server 20 may be config
number of categories. As an example only, matching server 40 ured to allow a user to interact with the result list of another
20 may add any profile to the Cat category whose text con user. Matching server 20 may be configured to allow a user to
tains any of the following strings:                                 express a preference for entities within a result list of another
   “cat “cats’ “cat “cats. “cat, “cats.                             user, and to indicate to the other user of this preference. Thus,
Matching server 20 may be configured to make it more likely a user may be able to get advice from a friend regarding what
that a profile will be in a result list if categories associated 45 other users may constitute good matches for the user and thus
with the profile are also categories found in the user's profile be able to find a better match.
who submitted the search request.                                      As an example only, consider FIG. 1A and FIG. 2. Two
   Matching server 20 may be configured to analyze one or users 14, Harry and Sally, are connected to matching server
more portions of the text of an entity's profile and generate a 20 via terminals 10. Display 12a is used by Harry while
readability Score that may be used in various ways, such as in 50 display 12b is used by Sally. Matching server 20 allows Sally
the process of searching for matches for user 14. In some to view Harry's result list 31 on her terminal in display 12b.
embodiments, matching server 20 may analyze factors such By pressing recommend button37. Sally may indicate a pref
as, but not limited to: average number of words per sentence, erence for one or more of the entities in result list 31. Assume
total number of words with greater than three syllables, and Sally presses recommend button 37 associated with Jane Loe.
total number of words in the profile. Matching server 20 may 55 After doing so, matching server 20 will notify Harry of Sal
also concatenate all of the collected responses with a single ly's preference. On Harry's display 12a, matching server 20
space between them. It may further break the text into sen will cause notification 39 to appear, associating it with Jane
tences, words, and syllables. From these statistics, matching Loe. Notification 39 will indicate to Harry that Sally has
server 20 may also be configured to generate a readability recommended Jane Loe as a potential match. Harry may find
score by, in one embodiment, taking the average of the Flesch 60 Sally's preference helpful in determining which entities he
Kincaid Reading Ease test, the Flesch Kincaid Grade Level should pursue further if, for example, he believes Sally under
test, and the Gunning Fox score. Other embodiments may stands the type of person he is looking for.
utilize any other combination of these or other tests to deter         In one embodiment, matching server 20 may be configured
mine a readability score. In some embodiments, analyses may to analyze the profiles of both user 14 and the entities in pool
be used to determine the IQ of an entity, the grade level of the 65 30 for keywords. Matching server 20 may be configured to
writing, or how nervous the entity generally is. An advantage search through the profile of user 14 for keywords that relate
of this embodiment may be that the system provides user 14 to things such as activities and interests. Matching server 20
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may generate a score for each entity in pool 30 based on a           profile has  not been  registered  long enough to generate a
comparison between the list of keywords found in user's 14 meaningful imputed physical attractiveness ratio. Matching
profile and a similarly-generated list of keywords of each server 20 may then generate an imputed physical attractive
entity in pool 30. In one embodiment, this is accomplished by ness score based on entities that Sally does have commonality
storing a list of words in memory 26, and using it to identify scores with. This computed average may be weighted by the
keywords in the searched profiles. In some embodiments,              strength of the commonality score between Sally and each
identified keywords may be used as a means of weighting entity with whom she has a commonality score. Continuing
various scores. As an example only, a profile that contains the the example, assume that Sally has a commonality score of 5
word “God’ may be weighted much differently than a profile with Lucy and 10 with Julia. When matching server 20 com
which has merely indicated that their religious preference is 10 putes the Sally's average, it will give twice as much weight to
Christian. In various embodiments, this may provide an Julia's imputed physical attractiveness score than to Lucy's.
advantage to user 14 in that user 14 is able to determine how           In some embodiments, matching server 20 may be config
similar he/she is with a potential match. In addition, the ured to make an entity in result list 31 more appealing to user
keyword analysis may be used by the system when searching 14 by pointing out coincidences in the profile data that give
and identifying matches for a user.                               15 user 14 a sense of fate with the entity. In one embodiment,
   As an example only, consider two registered users, Harry matching server 20 may be configured to search for similar
and Sally, both of whom have profiles stored in matching initials, birthplaces, birth dates, birth month, birth year, uni
server 20. Matching server 20 then analyzes each of these versity, first names, last names, user handles, parental occu
profiles by comparing it to a list of predefined keywords. pations, and keywords to identify users who may give another
Matching server 20 then associates each word that matched user a sense of fate. In other embodiments, matching server
the list of keywords with each profile. Now assume that Harry 20 may use the fate characteristics as a metric in the matching
performs a search. While fulfilling Harry's query, matching process.
server 20 evaluates Sally's profile for inclusion in Harry's            As an example only, assume that Harry is a registered user
result list 31. This evaluation includes comparing the list of who has performed a search. After matching server 20 returns
keywords found in Harry's profile to the keywords found in 25 a result list, Harry chooses to learn more about one of the
Sally's profile. The more keywords that Harry and Sally have entities in the result list and clicks view button 33. Consider
in common, the more likely it will be that matching server 20 FIG. 3, which is only an example of information that match
will include Sally's profile in Harry's result list 31.              ing server 20 may return to Harry after clicking view button
   In some embodiments, matching server 20 may be config 33. In Harry's display 12, matching server 20 presents certain
ured to impute a level of physical attractiveness to an entity in 30 details about the profile. In particular, matching server 20
pool 30. Matching server 20 may be configured to monitor presents to Harry a fate notification 32 which points out
how frequent an entity in pool 30 has been viewed as well as specific similarities between the profile of the entity and
how many times that entity has been part of a result list in Harry's profile. Reading fate notification 32 gives Harry a
order to impute the level of physical attractiveness. Matching sense of familiarity which enhances his appreciation for the
server 20 may further be configured to generate a score based 35 profile.
on this data. Further, in Some embodiments, matching server             In another example, fate characteristics may be used to
20 may impute physical attractiveness to an entity based on decide whether a profile in pool 30 is included in user's 14
the imputed physical attractiveness scores of other entities. result list 31. Assume that Harry is a registered user who has
Matching server 20 may compute an average of the imputed submitted a matching query to matching server 20. While
physical attractiveness scores of the other entities weighted 40 determining which entities to include in Harry's result list,
by the commonality score between each of the other entities matching server 20 considers two profiles: Sally and Roxy.
and the presententity. Empirical data indicates that people are Sally and Harry both have the same birth date, initials, and
more likely to match with people of similar attractiveness. have parents that work in the same profession. In contrast,
Thus, in many embodiments, a user may obtain an advantage Roxy and Harry only share the same birth place. Matching
in that they are able to be presented with potential matches 45 server 20 may be configured to award more points to Sally
that, according to one measurement, are as attractive as the than to Roxy based on these comparisons, making it more
USC.                                                                 likely that Sally's profile will be included in Harry's result
   As an example only, consider a registered user, Sally, list.
whose profile was created by matching server 20 in January.             In some embodiments, matching server 20 may be config
Since that time, matching server 20 has recorded the number 50 ured to evaluate the likelihood of contact between user 14 and
of times Sally's profile has appeared in any user's result list an entity in pool 30. Matching server 20 may be configured to
31; assume that this has occurred 10 times. Further, matching compare demographic data between user 14 and pool entity
server 20 has also recorded the number of times a user has           30a. In another embodiment, matching server 20 may be
viewed Sally's profile by clicking view button 33 associated configured to weigh the demographic similarities and differ
with Sally's profile; assume that this has happened 5 times. In 55 ences based on the sex ofuser 14. The demographic data may
this manner, matching server 20 has constructed a ratio that include, but is not limited to, age, education, ethnicity,
represents the imputed physical attractiveness of Sally's pro income, and location.
file. Still further, assume that Harry, a registered user, now          As an example only, assume that Harry and Sally are reg
submits a query. Matching server 20 has evaluated the istered users who have profiles in matching server 20. Harry
imputed physical attractiveness ratio of Harry's profile. When 60 has submitted a search request to matching server 20. While
evaluating Sally's profile for inclusion in result list 31 fulfilling this request, matching server 20 evaluates Sally's
returned to Harry, matching server 20 will compare the profile since her profile is in pool 30. As part of the evaluation,
imputed physical attractiveness of Sally's profile and Harry's matching server 20 looks at the differences between Harry
profile. The more similar the ratios associated with Harry and and Sally's stated age, income, education, ethnicity, and loca
Sally's profiles are to each other, the more likely it is that 65 tion. In this example, Harry is 10 years older than Sally,
Sally's profile will be selected by matching server 20 to be in makes S10,000 more per year, and has a Master's degree
Harry's result list31. In another example, assume that Sally's while Sally has a bachelor's degree. Even with these dispari
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ties, matching server 20 will give Sally's profile a high score example, 50 points to Sally's profile. Matching server 20 may
which makes it more likely that Sally's profile will appear in also be configured to assign 50 points to Sally's profile had
Harry's result list. However, if it was Sally who submitted the she been five years younger than Harry; but, if she had been
search, and matching server 20 was evaluating Harry's pro up to two years older than Harry, matching server 20 may
file, a different score is possible. So, if it were Sally who was have been configured to assign 40 points to her profile.
10 years older, made S10,000 more per year, and had a Mas Matching server 20 may be further configured to assign 30
ter's degree while Harry had a Bachelor's degree, matching points to Sally's profile if she was 6 to 8 years younger than
server 20 would give a low score to Harry's profile, making it Harry. However, if Sally were more than 8 years younger than
less likely that his profile would appear in Sally's result list.    Harry, matching server 20 may be configured to further
Matching server 20 may be configured this way because 10 decrease the number of points assigned to her profile: if she
empirical data has shown that these demographic differences was 9 years younger, then 25 points; if she was 10 years
do not have an equivalent effect on the choices men and younger, 20 points; if she was 11 years younger, 15 points;
women make regarding matches.                                        etc. The more points assigned to Sally's profile, the more
   In another embodiment, matching server 20 may be con likely it is that her profile will appear in Harry's result list.
figured to compare the locations of user 14 and pool entity 15 Thus, matching server 20 may be configured to assign a score
30a in increments often miles. In yet another embodiment, based on age difference using a combination of ranges and a
matching server 20 may be configured to score the location sliding scale.
comparison in light of other factors; as an example, matching           In another example, matching server 20 may assign scores
system 20 may be configured to return a score consistent with differently if it was Sally who was searching and if it was
a 10 mile difference in location even though there is a 50 mile Harry's profile that was being evaluated. In this example,
difference between user 14 and pool entity 30a if user 14 and matching server 20 may be configured to assign Harry's
pool entity 30a have the same income, education, and age. An profile 50 points if he were between 1 and 5 years older than
advantage realized in several embodiments is that it better her. If he were 6 to 8 years older than her, matching server 20
approximates how a user evaluates entities. Entities that live may assign 45 points. If he were greater than 8 years older
further away are generally less appealing to a user; but, users 25 than her, matching server 20 may assign points in the follow
may still be interested if the entity matches their preferences ing fashion: if he was 9 years older, 40 points would be
in other categories.                                                 assigned; if he was 10 years older, 35 points would be
   As an example only, considera registered user, Harry, who assigned; etc. However, if he was up to two years younger
submits a search request. While fulfilling this request, match than Sally, matching server 20 may assign 50 points to his
ing server 20 examines Sally's profile in pool 30, and deter 30 profile. If he were more than two years younger, matching
mines that the stated locations of Harry's and Sally's profiles server 20 may assign less points on a sliding scale: 45 points
are 13 miles apart. Matching server 20 will give Sally's pro if he were 3 years younger, 40 points if he were 4 years
file a score as if the distance between them were only 10 younger, etc. The more points assigned to Harry's profile, the
miles. However, in yet another example, Sally's profile may more like it is that his profile will appear in Sally's result list.
indicate that she lives 50 miles away from Harry. Yet, match 35 This example illustrates how matching server 20 may be
ing server 20 also notes that both Harry and Sally make configured to take the sex of user 14 into account when
S100,000 per year, have Master's degrees, and that Harry and scoring based on age differences.
Sally are one year apart in age (Harry is older). Given these           In various embodiments, matching server 20 may be con
similarities, matching server 20 will give a score to Sally's figured to evaluate the attractiveness of an entity in pool 30
profile that is consistent with a 20 mile difference in location 40 through collected feedback from other users. In one embodi
even though they are actually 50 miles apart. In this manner, ment, matching server 20 may present an entity to user 14,
matching server 20 takes into account empirical data that prompting user 14 to rate the attractiveness of the entity on a
shows that people searching for matches who indicate that scale from 1-9. This range gives the advantage of having a
they want to see matches who live close to them are still midpoint. Matching server 20 may further be configured to
willing to pursue a potential match that lives far away if the 45 collect such responses and store them; in one embodiment,
potential match fits very closely with the other search criteria. matching server 20 may store the data in memory 26, using a
   In another embodiment, matching server 20 may be con structure such as database 26b. Matching server 20 may fur
figured to evaluate the age difference between user 14 and ther be configured to compute the average of such responses
pool entity 30a using ranges as well as a sliding scale. By way for the entity, and store this number as well. In various
of example only, matching server 20 may be configured to 50 embodiments, these values may be used in order to help in the
assign a high value to an age difference between 0 and -5. matching process. Empirical data indicates that people are
while assigning a lower value to an age difference between +2 more likely to match with people of similar attractiveness.
and 0. An even lower value may be assigned to an age differ Thus, in various embodiments, users whose attractiveness
ence between -6 and -8. Even lower values would be                   rating are similar will be more likely to appearin each other's
assigned incrementally as the age difference increases out 55 result list. Further, a user may indicate that they only want
side of the ranges discussed. The higher the assigned value is, profiles in their result list whose average attractiveness rating
the more likely it will be that pool entity 30a will be included is higher than an indicated threshold.
in result list 31. Yet another embodiment may apply this                As an example only, assume registered user, Harry, uses
combination of ranges and a sliding scale but use different terminal 10, which in this example is Harry's personal com
values and ranges depending on the sex of user 14.                60 puter, and establishes communication with matching server
   As an example only, consider a situation in which a regis 20. In this example, this communication occurs by Harry
tered user, Harry, requests a search to be performed. While using a Web browser to access a Web page controlled by
fulfilling this request, matching server 20 evaluates Sally's matching server 20. Sometime after visiting the Web page,
profile, which was in pool 30. As part of the evaluation, matching server 20 may present Harry with an option to rate
matching server 20 compares the ages of Harry and Sally, and 65 the physical attractiveness of other users registered with
determines that Harry is two years older than Sally; this matching server 20. Using display 12 and interface 16, Harry
determination leads to matching server 20 assigning, in this may view profiles of registered users and rank them on a scale
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of 1-9 by entering the values using interface 16; in this               and  Sally.  Matching   server  20 may utilize this pair when
example, interface 16 comprises a mouse and/or a keyboard. providing search results to other users. Betty may have
After Submitting this rating, matching server 20 will associate requested matches, and Betty may be similar to Sally. Match
it with the profile and store it. Matching server 20 will also ing server 20 may present Harry in Betty’s result list as a
allow other users to rate profiles, thereby collecting a plurality result of the pairing between Harry and Sally. Further, Jim
of rankings for profiles. Matching server 20 may use this data may have executed a search and Jim may be similar to Harry.
when trying to find matches for users. One example of this is As a result of the pairing between Sally and Harry, matching
that matching server 20 may allow user 14 to specify that server 20 may present Sally in Jim's list of search results.
he/she is searching for profiles which have an average rating              In some embodiments, matching server 20 may be config
of6 or above. In turn, matching server 20 may populate user's 10 ured to encourage user 14 to interact with entities in pool 30.
14 result list from the pool only with profiles whose average For example, matching server 20 may presentalist of limited
rating is at 6 or above. Another example of how matching entities from pool 30 to user 14, but not present other entities
server 20 may use this data involves making it more likely that to user 14 unless user 14 interacts with the already presented
an entity will appear in a user's result list if the entity and that entities. Possible interaction with these entities may include
user have a similar average attractiveness rating. So, if a user 15 viewing more information regarding the entity, expressing a
has an average rating of 6, then an entity with an average positive or negative preference for the entity, and choosing to
rating of 5 may be more likely to appearin the user's result list contact the entity. Other suitable forms of interaction may
than an entity with an average rating of 2.                             also be utilized. For example, matching server 20 may prompt
   In another example, assume that Harry is a registered user the user with a question about the list of entities, such as
and has requested a search. While fulfilling this request, asking whether or not the user likes the entity. Responses to
matching server 20 evaluates Sally's profile. As part of this such prompts may include “yes” “maybe.” “no.” “remove.”
evaluation, matching server 20 notices that Sally's profile and “remove other.” The presented entities may be chosen
contains feedback from other users ranking the attractiveness using a variety of methods. For example, the presented enti
of Sally's profile. Matching server 20, in this example, aver ties may be chosen based on various scoring algorithms as
ages that data; Sally's profile average is 6. Matching server 20 25 described above. In addition, presented entities may be cho
may then examine Harry's profile to determine a similar Sen using predictive analysis, such as logistical regression.
average. If Harry's profile has an average close to 6, it will be Other techniques may be used to determine the presented
more likely that matching server 20 will include Sally's pro entities. For example, entities that have been presented pre
file in Harry's result list. If Harry's profile average is lower viously may be excluded. As another example, entities that
than 6, it will be less likely that Sally's profile will be included 30 have been blocked by user 14 may also be excluded. In
in Harry's result list. If Harry's profile average is greater than various embodiments, a combination of these techniques as
6, it will be even less likely that Sally’s profile will be well as others may be used to determine the limited number of
included in Harry's result list. The more Harry's profile aver entities presented to user 14.
age deviates from that of Sally's, the less likely it will be that         For example, Harry may be a registered user of the match
matching server 20 will present Sally's profile in Harry's 35 ing system. Matching server 20 may be configured to present
result list.                                                            to Harry a list of five entities that Harry must interact with.
   In some embodiments, matching server 20 may be config Once Harry has interacted with these entities, matching
ured to analyze profile information and received activity server 20 may present five more entities for Harry to interact
information to construct “pairs” which link at least two pro with. Previously, Harry has blocked Sally, another registered
files. These pairings may also be associated with a value that 40 user of the system. As a result, matching server 20 may
ascertains the quality of the pairing. For example, a pairing exclude Sally from being presented to Harry in the list of five
which results from one user viewing the profile of another entities. Further, Harry has already interacted with Betty,
user may be assigned a value that is less than a pairing which another registered user of the system: Harry sent a message to
results from a first user viewing the profile of a second user Betty utilizing matching server 20. As a result, Betty will be
when the second user has also viewed the first user's profile. 45 excluded from being presented to Harry in the list of five
Matching server 20 may use these pairings in order to gener entities. Matching server 20 may then choose two of the five
ate search results for entities within and outside of the pairing. entities using scoring algorithms described above. For
Each member of the pair may be used as a seed entity for example, matching server 20 may choose Alice and Amy to be
generating search results for users in matching server 20. In presented in the list of five entities because Alice and Amy
various embodiments, an advantage may be realized as 50 have received high scores when their profiles were compared
matching server 20 analyzes many of these pairs to develop to Harry's profile. Matching server 20 may choose the
dynamic results to users of the system, the results being remaining three entities using predictive analysis. According
potentially more relevant as matching server 20 leverages the to this example, matching server 20 may use logistical regres
interaction between users and profiles to generate search sion to identify Carla, Christi, and Camela as the other three
results.                                                             55 entities to present to Harry. Thus, in this example, Harry is
   Pairs may beformed from a variety of useractivity received presented with a list of five entities by matching server 20.
by matching server 20. This activity may include: profile Matching server 20 may not present another set offive entities
views, mutual profile views, one-way double blind commu until Harry has interacted with these five entities. Harry may
nication, mutual double-blind communication, declining interact with these entities in a variety of ways. For example,
double blind communication, one way wink, mutual wink, 60 Harry may send a message to Alice and send a “wink” to Amy.
expressing disinterest in response to receiving a wink, one In addition, Harry may choose to view more information
way favorite, and mutual favorite. Other suitable activity may about Carla's profile, but express a negative preference
also be received by matching server 20 and utilized as a basis towards Christi and Camela. After matching server 20
for generating pairs.                                                   receives these types of interaction with the presented five
   For example, Harry may be a registered user who has 65 entities, another set offive entities may be presented to Harry.
expressed a positive preference for Sally. Matching server 20              In this example, matching server 20 may further be con
may be configured to generate a pair which includes Harry figured to process the user interaction provided by Harry. For
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example, matching server 20 may utilize Alice's profile as a matching server 20 supplements pool 30 with set 52. In yet
seed entity to generate other possible entities to present to another embodiment, entities from set 52 appear as entities of
Harry since Harry sent a message to Alice. Thus, a benefit is pool 30 to the user in their list of search results. In one
from presenting a the five entities to Harry in that the inter embodiment, matching server 20 may be configured to gen
action between Harry and these entities may be utilized by 5 erate profiles within pool.30 from entities of set 52; the system
matching server 20 to generate other entities for matching to may be configured to do so through capabilities provided by
Harry. This serves as an example of how preferences may be Social networking platform 50, such as an application pro
identified based on user behavior.                                     gramming interface.
   In FIG. 4, one embodiment is disclosed wherein matching                As an example only, consider two users: Harry, whose
server 20, with pool 30, may be configured to interact with 10 profile          is stored in matching server 20, and Sally, whose
another platform, such as social networking platform 50, profile               is stored in social networking platform 50. Harry sub
containing a set 52 of users. Users 14 are communicatively
coupled to matching server 20 and social networking plat mits                a search request to matching server 20. Matching server
form 50. Matching server 20 may further be configured to 20 may return                   result list 31 to Harry, which, in this example,
provide users of social networking platform 50 a service by 15 contains            an entity representing Sally's profile. Matching
                                                                       server 20 may accomplish this by creating profiles in pool 30
which they may search for users within set 52 or within pool that            correspond to the profiles found in set 52. Once these
30 using the algorithms and processing of matching server 20. profiles          have been imported into pool 30, matching server 20
Matching server 20 may even further be configured to allow
users of matching server 20 to search through pool.30 and set may            then search through pool 30. While doing so, matching
                                                                       server 20 applies the algorithms and scores discussed herein.
52. Matching server 20 may be configured to parse the pro Thus,
files of the entities in set 52, collecting data and applying ured toinboth       this example, matching server 20 has been config
                                                                                       search and apply scoring algorithms to entities in
algorithms.
   In another embodiment, matching server 20 may be con to distinguishsetthat
                                                                       pool  30 and       52. Further, in one example, Harry is notable
                                                                                               Sally's profile was originally stored in
figured to allow users of social networking platform 50 to social networking platform                     50. Rather, matching server 20
interact with matching server 20 using social networking 25 presents              Sally's  profile   in the same manner as other profiles
platform 50. This level of integration provides the advantage stored in pool 30. Thus, in this                   example, Harry may use
of users not having to learn and sign up for a different plat favorite button 34, view button 33,                    and contact button 35
form.
   Social networking platform 50, in one embodiment, may when                 interacting with Sally's profile in the same manner as
be a service which stores profiles of its users. This service 30 described          above.
                                                                          One advantage present in various embodiments is that a
may be further configured to provide access to the stored
profiles. In one embodiment, social networking platform 50 user              has a wider pool of entities to search through. Another
                                                                       advantage is that a user does not have to sign up with several
may also allow other services to interact with users of social platforms            to search through the users on those platforms.
networking platform 50 through social networking platform
SO.                                                                 35    FIG. 5 is a flowchart illustrating one embodiment of how
   In one embodiment, matching server 20 may be configured result list31pool           may be generated. At step 62, matching server 20
to collect requests from users of social networking platform generates server  20  applies
                                                                                          30, as described above. At step 64, matching
                                                                                            a filter to pool 30, removing certain entities:
50 and perform a search throughpool.30 and set 52. Matching in various embodiments,                   this filter is based on user's 14 own
server 20 may further be configured to present the results of
                                                                       sex and  the   sex user
this search from within social networking platform 50. 40 matching server 20 may be configured 14  desires  to be matched with. At step 66,
Matching server 20 may further be configured to present pool 30 that will generate a plurality oftoscores                apply algorithms to
entities in the search result from pool 30 as if they were in pool 30. In one embodiment, these algorithmsformay                   each entity
entities of set 52; in one embodiment, matching server 20 may analyzing the text of the profiles of the entities in poolinclude            30 to
be configured to generate profiles of entities from pool.30 into generate a readability score, determining how attractive
set 52. Thus, users of social networking platform 50 may view 45 entity of pool 30 is, or measuring how likely it is that user an            14
all of the entities in the search result, regardless of their source will contact an entity of pool 30. At step 68, matching server
(either from pool 30 or set 52), within the environment of 20 may be configured to collect all of the scores from step 66:
social networking platform 50.
   As an example only, consider two users: Harry, for whom to          in one embodiment, matching server 20 may use database26b
matching server 20 has created a profile, and Sally, who has a 50 bestore       all of these scores. At step 70, matching server 20 may
                                                                           configured to apply an ordering algorithm which will
profile stored in social networking platform 50. From within determine
social networking platform 50, matching server 20 presents to presented totheuserorder           in which entities in result list 31 are
Sally the ability to perform a search which Sally uses. The rithm is based, in 14.               In one embodiment, this ordering algo
                                                                                             part, on the scoring algorithms applied at
results of this search are presented to Sally within social step 66. The ordering                 algorithm assigns points to each entity
networking platform 50. In this example, Harry's profile is 55
displayed to Sally as a search result along with other entities        and  orders   them  based   on these values, constructing result list
from set 52 though Harry's profile was from pool 30. In this 31.           An embodiment of this ordering algorithm is summarized
example, matching server 20 uses the algorithms discussed in the following table:
herein and searches through the profiles stored in pool.30 and
set 52. In order to display Harry’s profile to Sally, matching 60
server 20 creates a profile in set 52 using the data stored in                                                        Number of Points for
Harry's profile in pool 30. Sally is then able to interact with            Condition                                       Ordering
this newly created profile from within social networking plat              Readability score 1 point                      +33554432
form 50 in the same manner as she is other entities in set 52.                 higher than user
   In another embodiment, matching server 20 may be con 65                     Match result entity has                    +16777216
figured to allow its users to interact with social networking                  expressed a preference for
platform 50 through matching server 20. In one embodiment,
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                               -continued                            entity from which entities may be added to pool 30 (as
                                                                     described above). Hence, matching server 20 will update the
                                          Number of Points for       pool, apply the filters, apply the scoring algorithms, tabulate
    Condition                                  Ordering
                                                                     the results, apply the ordering algorithm, and update result list
    the user                                                         31. As another example, an entity may update their profile
    Match result entity has been              --838.8608             which   can change result list 31. For example, assume Sally's
    recommended by a friend of
    the user                                                         profile had an ordering algorithm score that placed her within
    User has viewed the details               -20971S2               the top 20 entities in result list 31. Sally then changes her
    of match result entity                                           profile which results in keywords that match Harry's profile
    Match result entity has                   --1048576           10
    commonality with an entity                                       being added to her profile. Matching server 20 will then
    user has expressed a                                             update her scoring algorithms. In this example, the change in
    preference for                                                   Sally's profile and resulting increase in keyword matches
    Both have the same ambition                    +128
    Both have the same beliefs                   --16384             with Harry's profile significantly increased her score. This
     Same answer for Build                           +64          15 was then reflected in the ordering algorithm as it was also
     Same answer for Car
    Both have the same diet
                                                      +1
                                                      +4
                                                                     applied to the updated profile. Afterwards, Sally's profile is
    Both have the same                          --131072             now placed within the top 5 entities in result list 31.
    preference for drinking                                             In some embodiments, matching server 20 may be config
    alcohol
     Same answer for Ethnicity                    +1024
                                                                     ured  to receive required characteristics from user 14 regard
     Same answer for Fear                          +256              ing a match. User 14 may be allowed to specify Such restric
     Same answer for Hair                             +2             tions based upon any number of characteristics, including
     Same answer for Number of                  +524288              those described herein. For example, matching server 20 may
    children
     Same answer for morning                         +32
                                                                     allow user 14 to specify that entities that indicate they have
     Same answer for “must have                  +32768              children should not be displayed. In another example, user 14
     Same answer for “night out                      +16          25 may specify that only entities between the ages of 20 and 30
     Same answer for “pets'                       65536              should be present in result list 31. In some embodiments,
     Same answer for politics                     --8.192            matching server 20 may implement these restrictions in step
     Same answer for relationship                     +O             64 of FIG. 5. In other embodiments, however, matching
    Status
     Same answer for romance'                      --512             server 20 may refuse to apply these restrictions to certain
     Same answer for Smoking                    +262144           30 entities based on the characteristics of the entities. Any num
    preferences                                                      ber of characteristics, including those described herein, may
     Same answer for sports                           +8             form the basis upon which matching server 20 decides not to
    interests
     Same answer for “system'                     +4O96              apply the restrictions Submitted by user 14. As an example
                                                                     only, matching server 20 may ignore the restrictions if the
                                                                  35 entity has a high enough attractiveness rating. In another
   As an example only, considera registered user, Harry, who example, though user 14 has requested that no profiles which
desires to perform a search. Before processing the request, are located more than 50 miles away should be present in
matching server 20 may ask Harry what sex he is and what sex result list 31, matching server 20 may include such profiles
does he desire to be matched with; in this example, Harry because those profiles have over 5 matching keywords, a high
responds that he is a male seeking a female. After doing so, 40 attractiveness rating, and have specified the same life goals as
matching server 20 will generate pool 30 as described above. user 14. Thus, in Some embodiments, matching server 20 may
Next, matching server 20 will apply a filter to remove certain refuse to apply restrictions submitted by user 14 based on any
entities from pool 30. In this example, all males will be combination of characteristics or algorithms.
removed from pool 30 since Harry is seeking a female. Fur               An advantage present in many embodiments is that through
ther, all females seeking females will be removed from pool 45 taking into account various factors when scoring potential
30 since Harry is a male. In other examples, other entities that matches and using only very few strict filters, a large amount
are removed from pool 30 include entities that Harry has of result entities may be returned to the user. A further advan
expressed a negative preference for before, or entities that tage is that the ordering algorithm will put the most relevant
have expressed a negative preference for Harry. After pool 30 search results first, saving the user time.
has been filtered, matching server 20 applies a variety of 50 Although several embodiments have been illustrated and
scoring algorithms to the entities remaining in pool 30. These described in detail, it will be recognized that substitutions and
algorithms may account for various comparisons such as alterations are possible without departing from the spirit and
those based on readability, likelihood to contact, fate, and Scope of the appended claims.
keywords described above. Matching server 20 will then
tabulate these scores, storing them, in this example, in data 55 What is claimed is:
base 26b. Matching server 20 will then determine what order             1. A computer-implemented method for profile matching,
these entities are presented to Harry by applying an ordering comprising:
algorithm. Here, matching server 20 assigns one ordering                receiving a plurality of user profiles, each user profile com
score to each entity by examining the results of the scoring               prising traits of a respective user;
algorithms. After doing so, matching server will present 60 receiving a request requesting matches, the request associ
result list 31 to Harry, where the order of the entities that              ated with a first user;
appear in the result list is based on the ordering algorithm. In        determining a first set of results in response to receiving the
this example, it is possible for result list 31 to change. Con             request, the first set of results comprising one or more of
sider another user, Sally, who appears in Harry's result list. If          the plurality of user profiles;
Harry decides to add her into a separate list by using favorite 65 receiving, from a second user, activity associated with a
button 34, Sally will be removed from result list 31 (as                   profile of a third user, the second user and the third user
described above). However, Sally will also become a seed                   different than the first user;
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  determining a rating of the profile of the third user based on        identify a profile of a fourth user from the plurality of user
    a number of times the profile of the third user was                    profiles in response to receiving the activity from the
     selected by users other than the first user;                          second user associated with the profile of the third user,
  identifying a profile of a fourth user from the plurality of             the profile of the fourth user not in the first set of results:
    user profiles in response to receiving the activity from 5          determine a rating of the profile of the fourth user based on
    the second user associated with the profile of the third               a number of times the profile of the fourth user was
    user, the profile of the fourth user not in the first set of           selected by users other than the first user;
     results;                                                           compare the rating of the profile of the third user with the
  determining a rating of the profile of the fourth user based 10          rating of the profile of the fourth user;
    on a number of times the profile of the fourth user was             determine a difference between a preference associated
    selected by users other than the first user;                           with the first user and a characteristic included in the
  comparing the rating of the profile of the third user with the          profile of the fourth user;
    rating of the profile of the fourth user;                           reduce an impact of the difference between the preference
  determining a difference between a preference associated 15              associated with the first user and the characteristic
     with the first user and a characteristic included in the             included in the profile of the fourth user;
    profile of the fourth user;                                         add the profile of the fourth user to the first set of results in
  reducing an impact of the difference between the prefer                 response to comparing the rating of the profile of the
     ence associated with the first user and the characteristic           third user with the rating of the profile of the fourth user
    included in the profile of the fourth user;                           and in response to reducing the impact of the difference
  adding the profile of the fourth user to the first set of results       between the preference associated with the first user and
    in response to comparing the rating of the profile of the             the characteristic included in the profile of the fourth
    third user with the rating of the profile of the fourth user           user, and
    and in response to reducing the impact of the difference            provide to the first user the profile of the fourth user to the
    between the preference associated with the first user and 25           first user.
    the characteristic included in the profile of the fourth            7. The medium of claim 6, wherein the instructions con
      user, and                                                        figured to receive, from the second user, activity associated
   providing the profile of the fourth user to the first user.         with the profile of the third user comprise instructions con
   2. The method of claim 1, wherein receiving, from the figured to receive, from the second user, a recommendation of
second user, activity associated with the profile of the third 30 the profile of the third user.
user comprises receiving from the second user a recommen                  8. The medium of claim 6, wherein the instructions con
dation of the profile of the third user.
   3. The method of claim 1, wherein identifying the profile of figuredplurality
                                                                                 to identify the profile of the fourth user from the
                                                                                  of user profiles comprise instructions configured to
the fourth user from the plurality of user profiles comprises identify commonality               between the profile of the fourth user
identifying commonality between the profile of the fourth 35
user and the profile of the third user.                                and  the profile  of the third user.
   4. The method of claim 3, further comprising:                          9. The medium of claim 8, wherein the instructions, when
   determining a readability score associated with the profile executed by the processor, are further configured to:
      of the third user;                                                  determine a readability score associated with the profile of
   determining a readability score associated with the profile 40            the third user;
      of the fourth user; and                                             determine a readability score associated with the profile of
   wherein identifying commonality between the profile of                    the fourth user; and
      the fourth user and the profile of the third user comprises         wherein the instructions configured to identify commonal
      comparing the readability score associated with the pro                ity between the profile of the fourth user and the profile
      file of the third user to the readability score associated 45          of the third user comprise instructions configured to
      with the profile of the fourth user.                                   compare the readability score associated with the profile
   5. The method of claim 3, wherein identifying commonal                    of the third user to the readability score associated with
ity between the profile of the fourth user and the profile of the            the profile of the fourth user.
third user comprises comparing fate characteristics of the                10. The medium of claim 8, wherein the instructions con
profile of the third user to fate characteristics of the profile of 50 figured to identify commonality between the profile of the
the fourth user.                                                       fourth user and the profile of the third user comprise instruc
   6. A non-transitory computer-readable medium compris tions configured to compare fate characteristics of the profile
ing instructions that, when executed by a processor, are con of the third user to fate characteristics of the profile of the
figured to:                                                            fourth user.
   receive a plurality of user profiles, each user profile com- 55 11. A system for profile matching, comprising:
      prising traits of a respective user;                                an interface operable to:
   receive a request requesting matches from a first user, the               receive a plurality of user profiles, each user profile
      first user associated with a first user profile;                          comprising traits of a respective user;
   determine a first set of results in response to receiving the             receive a request requesting matches, the request asso
      request for matches, the first set of results comprising 60               ciated with a first user;
      one or more of the plurality of user profiles;                         receive, from a second user, activity associated with a
   receive, from a second user, activity associated with a                      profile of a third user, the second user different than
      profile of a third user, the second user and the third user               the first user; and
      different than the first user;                                      a processor coupled to the interface and operable to:
   determine a rating of the profile of the third user based on 65           determine a first set of results in response to receiving
      a number of times the profile of the third user was                       the request, the first set of results comprising one or
      selected by users other than the first user;                              more of the plurality of user profiles:
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determine a rating of the profile of the third user based on      the interface further operable to provide the profile of the
   a number of times the profile of the third user was              fourth user to the first user.
   selected by users other than the first user;                   12. The system of claim 11, wherein the interface is oper
identify a profile of a fourth user from the plurality of able to receive, from the second user, activity associated with
  user profiles in response to receiving the activity from 5 the profile of the third user by receiving from the second user
  the second user associated with the profile of the third a recommendation          of the profile of the third user.
                                                                  13. The system of claim 11, wherein the processor is oper
  user, the profile of the fourth user not in the first set of able to identify the profile of the fourth user from the plurality
   results;                                                    ofuser profiles by identifying commonality between the pro
determine a rating of the profile of the fourth user based 10 file of the fourth user and the profile of the third user.
   on a number of times the profile of the fourth user was        14. The system of claim 13, wherein the processor is fur
   selected by users other than the first user;                ther operable to:
compare the rating of the profile of the third user with the      determine a readability score associated with the profile of
   rating of the profile of the fourth user;                        the third user;
determine a difference between a preference associated 15 determine a readability score associated with the profile of
  with the first user and a characteristic included in the          the fourth user; and
   profile of the fourth user;                                    wherein the processor is operable to identify commonality
reduce an impact of the difference between the prefer               between the profile of the fourth user and the profile of
   ence associated with the first user and the character            the third user by comparing the readability Score asso
   istic included in the profile of the fourth user;                ciated with the profile of the third user to the readability
add the profile of the fourth user to the first set of results       score associated with the profile of the fourth user.
   in response to comparing the rating of the profile of          15. The system of claim 13, wherein the processor is oper
                                                               able to identify commonality between the profile of the fourth
  the third user with the rating of the profile of the fourth user
  user and in response to reducing the impact of the                and the profile of the third user by comparing fate char
   difference between the preference associated with the 25 acteristics
                                                               of the
                                                                           of the profile of the third user to fate characteristics
                                                                      profile  of the fourth user.
   first user and the characteristic included in the profile
  of the fourth user; and                                                                k   k   k   k   k
